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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                          AT CLARKSBURG



  ASTRAZENECA PHARMACEUTICALS LP,
  ASTRAZENECA UK LIMITED, and
  ASTRAZENECA AB,

                 Plaintiffs,

                 v.                                   No. 1:15-cv-00183-IMK

  MYLAN PHARMACEUTICALS INC.,
  MYLAN LABORATORIES LIMITED, and
  MYLAN INC.,

                 Defendants.



                                     CONSENT JUDGMENT

         AstraZeneca AB, AstraZeneca UK Limited, and AstraZeneca Pharmaceuticals LP

  (hereinafter collectively “AstraZeneca”), and Mylan Pharmaceuticals Inc., Mylan Laboratories

  Limited, and Mylan Inc. (collectively “Mylan”), the parties in the above-captioned action, have

  agreed to terms and conditions representing a negotiated settlement of this action and have set

  forth those terms and conditions in a Settlement Agreement (the “Settlement Agreement”). Now

  the parties, by their respective undersigned attorneys, hereby stipulate and consent to entry of

  judgment and an injunction in this action as follows:




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        IT IS this ___ day of _________, 2017:

         ORDERED, ADJUDGED AND DECREED as follows:

                 1.      This District Court has jurisdiction over the subject matter of the above

  action and has personal jurisdiction over the parties.

                 2.      As used in this Consent Judgment, (i) the term “Mylan Product” shall

  mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

  Application Nos. 207640 and/or 208811 (and defined in greater detail in the Settlement

  Agreement); and (ii) the term “Affiliate” shall mean, with respect to a Party, any entity or person

  that, directly or indirectly through one or more intermediaries, controls, is controlled by, or is

  under common control with such Party. For purposes of this definition, “control” means (a)

  ownership, directly or through one or more intermediaries, of (i) more than fifty percent (50%)

  of the shares of stock entitled to vote for the election of directors, in the case of a corporation, or

  (ii) more than fifty percent (50%) of the equity interests in the case of any other type of legal

  entity or status as a general partner in any partnership, or (b) any other arrangement whereby an

  entity or person has the right to elect a majority of the board of directors or equivalent governing

  body of a corporation or other entity or the right to direct the management and policies of a

  corporation or other entity.

                 3.      Unless otherwise specifically authorized pursuant to the Settlement

  Agreement, Mylan, including any of its Affiliates, successors and assigns, is enjoined from

  infringing United States Patent Numbers 6,774,122, 7,456,160, 8,329,680 and 8,466,139, on its

  own part or through any Affiliate, by making, having made, using, selling, offering to sell,

  importing or distributing of the Mylan Product.




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                 4.     Compliance with this Consent Judgment may be enforced by AstraZeneca

  and its successors in interest, or assigns, as permitted by the terms of the Settlement Agreement.

                 5.     This Court retains jurisdiction to enforce or supervise performance under

  this Consent Judgment and the Settlement Agreement.

                 6.     All claims, counterclaims, affirmative defenses and demands in this action

  are hereby dismissed with prejudice and without costs, disbursements or attorneys’ fees to any

  party.

                         January 5, 2017
                 ENTER:_________________

                                                           ___________________________
                                                              Irene M. Keeley, U.S.D.J.

  We hereby consent to the form and entry of this Order:



  ___/s/ Aaron N. Arthur________________               _/s/ Gordon H. Copland_______________
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